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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

   UNITED STATES OF AMERICA,                 )
                                             )
                Plaintiff,                   )
                                             )
   vs.                                       )    CR NO. 04-40043–031-JLF
                                             )
   KEVIN L. GARRETT (031),                   )
                                             )
                Defendant.                   )

               ORDER ADOPTING REPORT AND RECOMMENDATION

   FOREMAN, District Judge:

         Before the Court is Magistrate Judge Wilkerson’s Report and Recommendation

   (Doc. 900) recommending that Kevin Garrett’s motion to dismiss his counsel (Doc. 645)

   be denied. The Clerk of the Court has informed the parties of their right to file

   objections and of the consequences of not doing so in a timely fashion. No objections

   have been filed in this matter. Upon review, the Court ADOPTS the Report and

   Recommendation (Doc. 900). Defendant Kevin Garrett’s motion to dismiss his counsel

   (Doc. 645) is DENIED.

         IT IS SO ORDERED.                         s/ James L. Foreman
         DATED: June 21, 2006.                     DISTRICT JUDGE
